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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


JAMES MARTZALL,                                   §
            Plaintiff,                            §
                                                  §                   SA-22-CV-00018-XR
v.                                                §
                                                  §
DEUTSCHE BANK NATIONAL TRUST                      §
COMPANY, AS INDENTURE                             §
TRUSTEE, ON BEHALF OF THE                         §
HOLDERS OF THE ACCREDITED                         §
MORTGAGE LOAN TRUST 2006-2                        §
ASSET BACKED NOTES,                               §
             Defendant.                           §



                                                ORDER

        On this date, the Court considered the Unopposed Motion to Withdraw as Attorney for

Plaintiff. ECF No. 30. The Court GRANTS the motion. No later than July 13, 2022, Plaintiff must

file a notice advising the Court whether he intends to proceed pro se or whether he has secured

counsel, who must also enter a notice of appearance no later than July 13, 2022. Plaintiff’s counsel

shall send a copy of this order to Plaintiff.

        It is so ORDERED.

        SIGNED this June 13, 2022.




                                                      XAVIER RODRIGUEZ
                                                      UNITED STATES DISTRICT JUDGE
